                 Case 2:10-cv-01818-RSM Document 20 Filed 05/03/11 Page 1 of 2



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5                                UNITED STATES DISTRICT COURT
6                               WESTERN DISTRICT OF WASHINGTON
7
                                             AT SEATTLE
8
     JONATHAN OSWALT,                 ) Case No. 2:10-cv-01818-RSM
9
                                      )
10   Plaintiff,                       )
11
                                      ) NOTICE OF SETTLEMENT
            vs.                       )
12                                    )
     DANIEL N. GORDON, P.C., AND LVNV )
13
     FUNDING, LLC,                    )
14                                    )
     Defendant.
15

16
              NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of the
17

18   District Court, Western District of Washington, Plaintiff’s Notice of Settlement with all

19   claims pending having been settled. Plaintiff hereby respectfully requests that this Court
20
     allow sixty (60) days within which to complete the settlement and to file a Dismissal in
21

22
     this matter. This Court shall retain jurisdiction over this matter until fully resolved.

23                                 Dated this 3rd day of May, 2011.
24

25                                                s/Jon N. Robbins
26
                                                  Jon N. Robbins
                                                  WEISBERG & MEYERS, LLC
27

28   Notice of Settlement - 1                                          Jon N. Robbins
                                                                       WEISBERG & MEYERS, LLC
                                                                       3877 N. Deer Lake Rd.
                                                                       Loon Lake ,WA 99148
                                                                       509-232-1882
                                                                       866-565-1327 facsimile
                                                                       jrobbins@AttorneysForConsumers.com
                 Case 2:10-cv-01818-RSM Document 20 Filed 05/03/11 Page 2 of 2



1    Filed electronically on this 3rd day of May, 2011, with:
2
     United States District Court CM/ECF system
3

4
     Notification sent electronically via the Court’s ECF system this 3rd day of May, 2011
     to:
5

6
     Mr. Daniel N. Gordon
     Attorney
7    Daniel N. Gordon, P.C.
8
     PO Box 22238
     Eugene OR 97402
9
     Mr. J. Kurt Kraemer
10
     McEwen Gisvold, LLP
11   1100 S.W. Sixth Avenue, Suite 1600
     Portland OR 97204
12

13   By: s/Jessica DeCandia
         Jessica DeCandia
14

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28   Notice of Settlement - 2                                     Jon N. Robbins
                                                                  WEISBERG & MEYERS, LLC
                                                                  3877 N. Deer Lake Rd.
                                                                  Loon Lake ,WA 99148
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